  Case:Case
       23-50869     Document: 00517007319
            2:23-cv-00055-AM                Page:
                               Document 69 Filed   1 DatePage
                                                 12/19/23 Filed:1 12/19/2023
                                                                  of 20




                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                   TEL. 504-310-7700
CLERK                                                        600 S. MAESTRI PLACE,
                                                                     Suite 115
                                                            NEW ORLEANS, LA 70130

                            December 19, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-50869     State of Texas v. DHS
                       USDC No. 2:23-CV-55

Enclosed is an order entered in this case.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk



                                   By: _________________________
                                   Whitney M. Jett, Deputy Clerk
                                   504-310-7772
Mr. Ari Cuenin
Mr. Philip Devlin
Mr. Christopher A. Eiswerth
Mr. Robert D. Green
Mr. Robert E. Henneke
Mr. James Andrew Mackenzie
Mr. Steven Andrew Myers
Mr. Aaron Lloyd Nielson
Ms. Melissa Nicole Patterson
Mr. Ryan Daniel Walters
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   1 DatePage
                                               12/19/23 Filed:2 12/19/2023
                                                                of 20




             United States Court of Appeals
                  for the Fifth Circuit                                 United States Court of Appeals
                                                                                 Fifth Circuit

                                    ____________                               FILED
                                                                       December 19, 2023
                                     No. 23-50869                         Lyle W. Cayce
                                    ____________                               Clerk

   State of Texas,

                                                                   Plaintiff—Appellant,

                                            versus

   United States Department of Homeland Security;
   Alejandro Mayorkas, Secretary, U.S. Department of Homeland
   Security; United States Customs and Border Protection;
   United States Border Patrol; Troy Miller, Acting
   Commissioner, U.S. Customs and Border Protection; Jason Owens, in his
   official capacity as Chief of the U.S. Border Patrol; Juan Bernal, in his
   official capacity as Acting Chief Patrol Agent, Del Rio Sector United States
   Border Patrol,

                                              Defendants—Appellees.
                     ______________________________

                    Appeal from the United States District Court
                         for the Western District of Texas
                               USDC No. 2:23-CV-55
                    ______________________________

   Before Haynes, Willett, and Duncan, Circuit Judges.
   Stuart Kyle Duncan, Circuit Judge:1


           _____________________
           1 Judge Haynes does not join the order as she would send this case to a merits

   panel as an expedited appeal and would grant an administrative stay for a brief period of
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   2 DatePage
                                               12/19/23 Filed:3 12/19/2023
                                                                of 20



                                        No. 23-50869


                                PUBLISHED ORDER
           Texas seeks an injunction pending appeal to prevent the United States
   Border Patrol from cutting, destroying, or otherwise interfering with concer-
   tina wire (“c-wire”) Texas has constructed along more than 29 miles of mu-
   nicipal and private land in the Eagle Pass sector of our southern border. The
   district court granted Texas a temporary restraining order, after which it held
   hearings, heard testimony from multiple witnesses, and received copious
   documentary evidence. Despite making numerous fact findings supporting
   Texas’s claims, the district court ruled that the United States’ sovereign im-
   munity had not been waived under 5 U.S.C. § 702 and that the court was
   therefore barred from converting the TRO into a preliminary injunction.
   Texas immediately appealed and sought an emergency injunction pending
   appeal. The panel granted a temporary administrative stay while considering
   the parties’ submissions.
           Concluding that the district court legally erred with respect to sover-
   eign immunity and that Texas has otherwise satisfied the factors under Nken
   v. Holder, 556 U.S. 418, 434 (2009), we GRANT Texas’s request for an in-
   junction pending appeal. Accordingly, Defendants are ENJOINED during
   the pendency of this appeal from damaging, destroying, or otherwise inter-
   fering with Texas’s c-wire fence in the vicinity of Eagle Pass, Texas, as indi-
   cated in Texas’s complaint. As the parties have agreed, Defendants are per-
   mitted to cut or move the c-wire if necessary to address any medical emer-
   gency as specified in the TRO. See App. K at 4, 9–11 (Oct. 30, 2023).




           _____________________
   time, deferring the question of the stay pending appeal to the oral argument merits panel
   which receives this case.




                                              2
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   3 DatePage
                                               12/19/23 Filed:4 12/19/2023
                                                                of 20



                                     No. 23-50869


                         I. Facts and Proceedings
          We briefly summarize the procedural history and the district court’s
   relevant fact findings. See generally App. P at 6–10.
                                         A.
          Along the 1,200 miles of the Rio Grande forming the border between
   Texas and Mexico, there are 29 official points of entry into the United States.
   To guard the “vast stretches of land between” those points, Congress
   created the Border Patrol, whose objective is to “deter illegal entry into the
   United States.” In recent years, illegal crossings have increased dramatically.
   “The number of Border Patrol encounters with migrants illegally entering
   the country has swelled from a comparatively paltry 458,000 in 2020 to 1.7
   million in 2021 and 2.4 million in 2022.” Unsurprisingly, the situation has
   been exploited by drug cartels, who have made “an incredibly lucrative
   enterprise” out of trafficking human beings and illegal drugs like fentanyl,
   which “is frequently encountered in vast quantities at the border.”
          In 2021, Texas launched Operation Lone Star to aid the Border Patrol
   through allocation of state resources. The activity in question here is Texas’s
   “laying of concertina wire along several sections of [the] riverfront.” The c-
   wire serves as a “deterrent—an effective one at that,” causing illegal
   crossings to drop precipitously. “By all accounts, Border Patrol is grateful for
   the assistance of Texas law enforcement, and the evidence shows the parties
   work cooperatively across the state, including in El Paso and the Rio Grande
   Valley.”
          There has been conflict in the Eagle Pass area, however. Maverick
   County and Eagle Pass are “the epicenter of the present migrant influx:
   nearly a quarter of migrant entries into the United States happen there.”
   Border Patrol has set up a temporary processing center in Maverick County
   on private land close to the Rio Grande. By September 2023, Texas had




                                          3
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   4 DatePage
                                               12/19/23 Filed:5 12/19/2023
                                                                of 20



                                         No. 23-50869


   installed over 29 miles of c-wire in this area. Both the Border Patrol and Texas
   agree that the c-wire must be cut in the event of an emergency, such as the
   threat of a migrant’s drowning or suffering heat exhaustion. “The problem
   arises when Border Patrol agents cut the wire without prior notification to
   [Texas] for reasons other than emergencies.”
                                              B.
           On October 24, 2023, Texas sued Defendants2 in federal court
   alleging common law conversion, common law trespass to chattels, and
   violations under the Administrative Procedure Act (“APA”). Among other
   relief, Texas sought a preliminary injunction based on its trespass to chattels
   claim. Three days later, Texas sought a TRO. The following day, Texas filed
   a notice with the district court alleging that “the Defendants, knowing a
   motion for a TRO had already been filed, used a forklift to seize concertina
   wire and smash it to the ground.” The court granted an emergency TRO on
   October 30, 2023, barring Defendants “from interfering with [Texas’s]
   concertina wire except for medical emergencies.” Over the ensuing month,
   the court held two hearings on Texas’s motion for a preliminary injunction;
   heard testimony from multiple witnesses; and received thousands of pages of
   evidence (including five videos) as a result of expedited discovery. The court
   also twice extended the TRO.
           Although the court would ultimately deny a preliminary injunction on
   sovereign immunity grounds, the court made numerous fact findings
   supporting Texas’s trespass to chattels claim. As a general matter, the court

           _____________________
           2
             Defendants are the U.S. Department of Homeland Security and its Secretary,
   Alejandro Mayorkas; U.S. Customs and Border Protection; U.S. Border Patrol; Troy
   Miller, Acting Commissioner of U.S. Customs and Border Protection; Jason Owens, Chief
   of the U.S. Border Patrol; and Juan Bernal, Acting Chief Patrol Agent, Del Rio Sector U.S.
   Border Patrol.




                                               4
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   5 DatePage
                                               12/19/23 Filed:6 12/19/2023
                                                                of 20



                                          No. 23-50869


   rejected Defendants’ claims that the Border Patrol was justified in cutting the
   c-wire: (1) to inspect, apprehend, and detain illegal aliens; and (2) to prevent
   or address medical emergencies. To the contrary, the court found that the
   Border Patrol cut the c-wire “for no apparent purpose other than to allow
   migrants easier entrance further inland.”
           While noting it was “aware of at least fourteen incidents of wire
   cutting,” the court focused on a September 20 incident that was captured on
   video and was, in the court’s view, “most illustrative.”3 In that incident,
   Border Patrol agents cut two additional holes in the c-wire 15 feet away from
   an existing hole and installed “a climbing rope for migrants.” Meanwhile, a
   Border Patrol boat “passively observ[ed] a stream of migrants” crossing the
   river who were never “interviewed, questioned as to citizenship, or in any
   way hindered in their progress into the United States.” Instead, after letting
   the migrants through, the Border Patrol sent them to “walk as much as a mile
   or more” with no supervision in hopes they would proceed to the nearest
   immigration processing center.
           The court first rejected as a factual matter Defendants’ claim that the
   Border Patrol’s actions were intended to “inspect, apprehend, and process”
   incoming aliens.4 The court found no alien was “inspected” at all. Moreover,
   if agents intended to inspect, they could have done so without doing anything
           _____________________
           3
            Because the video was not yet publicly available, the court included still photos
   from the video as an appendix to its opinion. We have included the same photos as an
   appendix to this order.
           4
             See 6 U.S.C. § 211(c)(8)(B) (setting out Commissioner’s responsibility for “the
   detection, interdiction, removal, departure from the United States, short-term detention,
   and transfer of persons unlawfully entering, or who have recently unlawfully entered, the
   United States”); 8 U.S.C. § 1357(a) (authorizing agents, “within a distance of twenty-five
   miles from any . . . external boundary [of the United States] to have access to private lands,
   but not dwellings, for the purpose of patrolling the border to prevent the illegal entry of
   aliens into the United States”).




                                                 5
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   6 DatePage
                                               12/19/23 Filed:7 12/19/2023
                                                                of 20



                                     No. 23-50869


   to the wire. As the court noted, “Border Patrol agents already possess access
   to both sides of the fence . . . to the river and bank by boat and to the further-
   inland side of the fence by road.” Nor was wire-cutting necessary to
   “apprehend” or “process” aliens. Indeed, no one was “apprehended” or
   placed in “custody”—as the court found, aliens coming through the holes
   were merely waived along in the “hope that [they] will flow in an orderly
   manner . . . to the nearest processing center.” Moreover, agents let “some
   4,555 migrants [in] during [the September 20] incident, but only
   2,680 presented themselves for processing.” Accordingly, the court found
   that “[n]o reasonable interpretation of the[] definitions [of ‘apprehension’
   or ‘detention’] can square with Border Patrol’s conduct.”
          The court also rejected Defendants’ argument that wire-cutting was
   generally necessary to prevent “medical emergencies.” To be sure, the court
   (and the parties) recognized that “injury, drowning, dehydration, and fatigue
   are real and common perils in this area of the border,” and so “medical
   emergencies justify cutting or moving [Texas’s] fence.” But the court
   rejected the notion that medical emergencies could justify any and all
   destruction of the c-wire. “While an ongoing medical emergency can justify
   opening the fence, the end of that exigency ends the justification.” So, for
   example, “cutting the wire to address a single individual’s display of distress
   does not justify leaving the fence open for a crowd of dozens or hundreds to
   pass through.” The court also rejected Defendants’ argument that cutting
   the c-wire could be justified because it would assist in the “prevention of
   possible future exigencies.”
          Despite these findings, the district court nonetheless denied Texas’s
   request for a preliminary injunction. The court recognized that
   5 U.S.C. § 702 generally waives the United States’ sovereign immunity for
   claims for non-monetary relief based on an agency official’s act or failure to
   act. Nonetheless, the court reasoned that § 702 does not “unequivocally”



                                           6
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   7 DatePage
                                               12/19/23 Filed:8 12/19/2023
                                                                of 20



                                       No. 23-50869


   encompass injunctive relief under common law conversion or trespass to
   chattels claims. Additionally, the court found that, “at this early stage of the
   case,” Texas had not shown the c-wire cutting resulted from final agency
   action. Finally, the court found that there was “insufficient evidence at this
   juncture” to support Texas’s ultra vires claim under 5 U.S.C.§ 706(2)(C).
          Texas immediately appealed, seeking an emergency injunction
   pending appeal or a temporary administrative stay while the panel considered
   its motion. The panel granted an administrative stay. Defendants have since
   filed an opposition to Texas’s request and Texas has filed a reply in support.
                           II. Standard of Review
          “[W]e consider four factors in deciding whether the grant a stay
   pending appeal: (1) whether [Texas] has made a strong showing that [it] is
   likely to succeed on the merits; (2) whether [Texas] will be irreparably
   injured absent a stay; (3) whether issuance of the stay will substantially injure
   the other parties interested in the proceeding; and (4) where the public
   interest lies.” SEC v. Barton, 79 F.4th 573, 581 (5th Cir. 2023) (quoting Nken,
   556 U.S. at 434). When the United States is the opposing party, the third and
   fourth requirements merge. Nken, 556 U.S. at 435.
                                 III. Discussion
                                           A.
          We begin with Texas’s likelihood of success on the merits of its
   common law trespass to chattels claim. For purposes of the TRO, the district
   court concluded Texas was likely to prevail on this claim. But the court
   nonetheless denied Texas’s requested preliminary injunction because it
   concluded that 5 U.S.C. § 702 did not clearly waive sovereign immunity for
   claims of this sort. We disagree.




                                            7
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   8 DatePage
                                               12/19/23 Filed:9 12/19/2023
                                                                of 20



                                    No. 23-50869


          The federal government and its agencies are immune from suits, even
   by states, unless Congress clearly consents by waiving sovereign immunity.
   See FDIC v. Meyer, 510 U.S. 471, 475 (1994); California v. Arizona, 440 U.S.
   59, 61–62 (1979). Any waiver must be clear and ambiguities are construed
   strictly in favor of immunity. La. Dep’t of Env’t Quality v. EPA, 730 F.3d 446,
   448–49 (5th Cir. 2013).

          Section 702 of the APA provides in relevant part:
          An action in a court of the United States seeking relief other
          than money damages and stating a claim that an agency or an
          officer or employee thereof acted or failed to act in an official
          capacity or under color of legal authority shall not be dismissed
          nor relief therein be denied on the ground that it is against the
          United States or that the United States is an indispensable
          party.
   5 U.S.C. § 702. We have explained that § 702 “generally waives” sovereign
   immunity, Apter v. HHS, 80 F.4th 579, 589 (5th Cir. 2023), including for
   “suits seeking nonmonetary relief through nonstatutory judicial review of
   agency action.” Geyen v. Marsh, 775 F.2d 1303, 1307 (5th Cir. 1985); see also
   Doe v. United States, 853 F.3d 792, 798–99 (5th Cir. 2017) (explaining that
   § 702 “broaden[s] the avenues for judicial review of agency action by
   eliminating the defense of sovereign immunity” in suits seeking
   nonmonetary relief).

          Section 702 plainly waives immunity for Texas’s trespass to chattels
   claim. That claim was brought as “[a]n action” in federal court; it “seek[s]
   relief other than monetary damages”; and it “stat[es] a claim” that a federal
   agency’s officials and employees “acted or failed to act in an official capacity
   or under color of legal authority.” Accordingly, Texas’s claim “shall not be
   dismissed nor relief therein be denied on the ground that it is against the




                                          8
Case:Case
      23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   9 DatePage
                                               12/19/23 Filed:
                                                            1012/19/2023
                                                               of 20



                                           No. 23-50869


   United States.” 5 U.S.C. § 702. The district court legally erred by ruling
   otherwise.
           Instead of relying on Section 702’s plain terms, the district court read
   the provision strictly to preclude an immunity waiver. The court would have
   required a Fifth Circuit or Supreme Court decision explicitly reading “an
   action” in § 702 to include state or common law trespass to chattels claims.
   This misapplies the principle that courts should construe ambiguities strictly
   in favor of sovereign immunity, however. See Sebelius v. Cloer, 569 U.S. 369,
   380–81 (2013). That principle does not apply here because there is no
   ambiguity. Section 702’s plain terms waive sovereign immunity for “any
   suit” seeking nonmonetary relief in federal court. Richard Fallon et
   al., Hart & Wechsler’s The Federal Courts and the
   Federal System 902 (7th ed. 2015).
           Numerous federal circuits follow this plain-language reading of
   § 702.5 For example, the D.C. Circuit has “repeatedly . . . rejected” the
   argument that § 702’s waiver applies only to actions arising under the APA.
   Trudeau v. FTC, 456 F.3d 178, 186 (D.C. Cir. 2006) (“There is nothing in
   the language of the second sentence of § 702 that restricts its waiver to suits
   brought under the APA.”). That court explained that § 702’s “clear
   purpose” was to “elimina[te] the sovereign immunity defense in all equitable
   actions for specific relief against a Federal agency or officer acting in an

           _____________________
           5
             See, e.g., Delano Farms Co. v. Ca. Table Grape Comm’n, 655 F.3d 1337, 1344 (Fed.
   Cir. 2011); Veterans for Common Sense v. Shinseki, 644 F.3d 845, 866 (9th Cir. 2011); Mich-
   igan v. U.S. Army Corps of Eng’rs, 667 F.3d 765, 775 (7th Cir. 2011); Blagojevich v. Gates, 519
   F.3d 370, 371–72 (7th Cir. 2008); Puerto Rico v. United States, 490 F.3d 50, 57–58 (1st Cir.
   2007); Muniz-Muniz v. U.S. Border Patrol, 741 F.3d 668, 672 (6th Cir. 2013); Presbyterian
   Church (U.S.A.) v. United States, 870 F.2d 518, 525 (9th Cir. 1989); Red Lake Band of Chip-
   pewa Indians v. Barlow, 846 F.2d 474, 476 (8th Cir. 1988); B.K. Instrument, Inc. v. United
   States, 715 F.2d 713, 724–25 (2d Cir. 1983).




                                                 9
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   10 Date
                                               12/19/23   Filed:
                                                        Page  11 12/19/2023
                                                                 of 20



                                         No. 23-50869


   official capacity.” Ibid. (quoting Sea-Land Serv., Inc. v. Alaska R.R., 659 F.2d
   243, 244 (D.C. Cir. 1981)). Similarly, the Third Circuit has explained that
   “the waiver of sovereign immunity in section 702 extends to all nonmonetary
   claims against federal agencies and their officers, regardless of whether or not
   the cases seek review of ‘agency action’ or ‘final agency action.’” Treasurer
   of N.J. v. U.S. Dep’t of Treasury, 684 F.3d 382, 397 (3d Cir. 2012) (emphasis
   added). Applying that principle, the court ruled the § 702 waiver applied to
   New Jersey’s claims against the U.S. Treasury under the state’s unclaimed
   property acts. Id. at 389–90, 400 n.19. In sum, the district court erred in
   interpreting § 702, which by its plain terms waives the United States’
   sovereign immunity for Texas’s trespass to chattels claim.6
           Defendants do not meaningfully engage with the plain language of
   § 702 or with the precedents applying it. Instead, they raise alternative
   arguments in support of the district court’s denial of a preliminary injunction.
   All are unavailing.
           First, Defendants argue that the Federal Tort Claims Act is the
   exclusive remedy for all state tort actions, regardless of the remedy they seek.
   We disagree. Defendants offer little support for this argument, which finds
   no purchase in the language of the FTCA and has been rejected by our sister

           _____________________
           6
             Our circuit does not appear to have addressed this § 702 issue directly. However,
   in Alabama-Coushatta Tribe of Texas v. United States, 757 F.3d 484 (5th Cir. 2014), we
   favorably cited both the D.C. Circuit’s Trudeau decision, as well as the 7th Circuit’s
   Michigan v. U.S. Army Corps of Engineers decision, both of which adopt a plain-language
   reading of § 702. See Alabama-Coushatta, 757 F.3d at 489. Additionally, we noted in
   Alabama-Coushatta that part of the first sentence of § 702 (waiving immunity where a
   person is “adversely affected or aggrieved by agency action within the meaning of a relevant
   statute”) applies “when judicial review is sought pursuant to a statutory or non-statutory
   cause of action that arises completely apart from the general provisions of the APA.” Ibid.
   That view is entirely consistent with reading the second sentence of § 702 to waive
   immunity for any nonmonetary claim, state or federal, as our sister circuits do.




                                               10
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   11 Date
                                               12/19/23   Filed:
                                                        Page  12 12/19/2023
                                                                 of 20



                                    No. 23-50869


   circuits. See Michigan v. U.S. Army Corps of Eng’rs, 667 F.3d at 775 (rejecting
   argument that “the FTCA implicitly prohibits injunctive relief in tort suits
   against the United States” as “read[ing] too much into congressional
   silence”); see also U.S. Info. Agency v. Krc, 989 F.2d 1211, 1216 (D.C. Cir.
   1993) (FTCA does not “impliedly forbid[] specific relief for tortious
   interference with prospective employment opportunities”).
          Next, Defendants argue that they enjoy intergovernmental immunity
   against Texas’s claims. We again disagree. Defendants have no
   intergovernmental immunity because Texas is exercising its rights only as a
   proprietor, and, as the district court found, Texas is neither directly
   regulating the Border Patrol nor discriminating against the federal
   government. See United States v. Washington, 596 U.S. 832, 838–39 (2022)
   (clarifying that the intergovernmental immunity doctrine only prohibits state
   laws “that either regulat[e] the United States directly or discriminat[e]
   against the Federal Government or those with whom it deals”) (citations and
   internal quotation marks omitted).
          Finally, Defendants argue they enjoy jurisdictional immunity under
   the Immigration and Nationality Act (“INA”). They are again mistaken.
   The INA bars lower courts from issuing injunctions against certain
   immigration statutes, specifically 8 U.S.C. §§ 1221–1232. See 8 U.S.C.
   § 1252(f)(1). That bar does not apply here, however. To cut Texas’s c-wire,
   Defendants did not rely on any of the statutes covered by the INA bar.
   Instead, they relied on 8 U.S.C. §§ 1103(a)(3) and 1357(a)(3), neither of
   which are covered. Accordingly, an injunction against the Defendants would,
   at most, have only a “collateral effect on the operation” of the covered
   statutes, which is permissible. See Garland v. Aleman Gonzalez, 596 U.S. 543,
   553 n.4 (2022).




                                         11
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   12 Date
                                               12/19/23   Filed:
                                                        Page  13 12/19/2023
                                                                 of 20



                                         No. 23-50869


           Having concluded Defendants do not enjoy sovereign immunity
   against Texas’s trespass to chattels claim, we briefly consider Texas’s
   likelihood of success on that claim. In its TRO, the district court concluded
   that Texas had a strong likelihood of success because “[1] the concertina wire
   is state property; [2] Defendants have exercised dominion over that property
   absent any kind of exigency; and [3] they have continued to do so even after
   being put on notice of [Texas’s] interest in the property.” On appeal, Texas
   reasserts its likelihood of success on that claim. Defendants do not brief this
   issue and have thus waived any argument. Bailey v. Shell W. E&P, Inc., 609
   F.3d 710, 722 (5th Cir. 2010). We therefore agree with the district court that
   Texas has demonstrated a strong likelihood of success on the merits of its
   trespass to chattels claims.7
                                               B.
           We next consider whether Texas has shown it would be irreparably
   injured absent a stay. The district court found Texas would suffer irreparable
   harm “in the form of loss of control and use of its private property.” We see
   no error, clear or otherwise, in this finding. See Jiao v. Xu, 28 F.4th 591, 598
   (5th Cir. 2022).
           The district court found that Defendants’ employees have repeatedly
   “damage[d], destroy[ed], and exercis[ed] dominion over state property” and
   “show[ed] that they intend to prevent [Texas] from ‘maintaining operational
   control over its own property.’” Accordingly, the court concluded that
   “compensation for past injury cannot adequately redress the prospect of
   continuing or future harm for which the only appropriate remedy would be
           _____________________
           7
              Because we decide Texas is likely to succeed on this claim, we need not decide
   whether Texas is also likely to succeed on its APA claims that Defendants have acted
   arbitrarily and capriciously and, alternatively, that Defendants have acted ultra vires. We
   express no opinion on those claims.




                                               12
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   13 Date
                                               12/19/23   Filed:
                                                        Page  14 12/19/2023
                                                                 of 20



                                            No. 23-50869


   injunctive relief.” The district court was correct. When a trespass is
   continuous such that stopping it would require a “multiplicity of suits,” an
   injunction is justified. See, e.g., Donovan v. Pa. Co., 199 U.S. 279, 304–05
   (1905) (where a case involves “a continuing trespass,” equitable relief is
   necessary to “avoid[] a multiplicity of suits” and “the inadequacy of a legal
   remedy . . . is quite apparent”); see also Rojas-Adam Corp. of Del. v. Young, 13
   F.2d 988, 989–90 (5th Cir. 1926); Beathard Joint Venture v. W. Hous. Airport
   Corp., 72 S.W.3d 426, 432 (Tex. App.—Texarkana 2002, no pet.) (applying
   Texas law). In other words, where a tort claim seeks to stop a “continuing
   trespass to land,” as Texas’s does, irreparable injury has been shown and
   injunctive relief is appropriate. See Restatement (Second) of
   Torts § 938 cmt. c (1979).8
                                                 C.
           Finally, we turn to the public interest prong. See Nken, 556 U.S. at 435
   (third and fourth prongs merge when United States is opposing party). The
   district court, incorporating its TRO opinion by reference, focused its public
   interest analysis on two distinct bases: preventing unlawful agency action and
   deterring illegal immigration. Agreeing that the first ground plainly serves the
   public interest and weighs in Texas’s favor, we need not consider the second.
   See Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579,
   585 (5th Cir. 2013).
            “There is generally no public interest in the perpetuation of unlawful
   agency action.” Louisiana v. Biden, 55 F.4th 1017, 1035 (5th Cir. 2022)

           _____________________
           8
             See also 42 Am. Jur. 2d Injunctions § 109 (2023) (explaining that “prevention of a
   multiplicity of suits is universally recognized as a ground for equitable intervention by
   injunction, and especially is this so in the case of trespasses. . . . even when each act of
   trespass is trivial or the damage is trifling and despite the fact that no single trespass causes
   irreparable injury”).




                                                  13
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   14 Date
                                               12/19/23   Filed:
                                                        Page  15 12/19/2023
                                                                 of 20



                                           No. 23-50869


   (citation omitted). And there is “substantial public interest in having
   governmental agencies abide by the federal laws that govern their existence
   and operations.” Texas v. United States, 40 F.4th 205, 229 (5th Cir. 2022)
   (citation and quotations omitted). The district court found that the Border
   Patrol exceeded its authority by cutting Texas’s c-wire fence for purposes
   other than a medical emergency, inspection, or detention. Moreover, the
   public interest supports clear protections for property rights from
   government intrusion and control.9 Accordingly, we find no abuse of
   discretion in the district court’s weighing of the public interest prong.
                                     IV. Conclusion
           Because Texas has carried its burden under the Nken factors, we
   GRANT its request for an injunction pending appeal. Accordingly,
   Defendants are ENJOINED during the pendency of this appeal from
   damaging, destroying, or otherwise interfering with Texas’s c-wire fence in
   the vicinity of Eagle Pass, Texas, as indicated in Texas’s complaint. As the
   parties have agreed, Defendants are permitted to cut or move the c-wire if
   necessary to address any medical emergency as specified in the TRO. See
   App. K at 4, 9–11 (Oct. 30, 2023).




           _____________________
           9
              See Chi., B. & Q.R. Co. v. City of Chicago, 166 U.S. 226, 235–36 (1897) (“Due
   protection of the rights of property has been regarded as a vital principle of republican
   institutions.”); Pa. Coal Co. v. Mahon, 260 U.S. 393, 413 (1922); Minard Run Oil Co. v. U.S.
   Forest Serv., 670 F.3d 236, 257 (3d Cir. 2011); Apple Inc. v. Samsung Elec. Co., Ltd., 809 F.3d
   633, 647 (Fed. Cir. 2015).




                                                 14
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   15 Date
                                               12/19/23   Filed:
                                                        Page  16 12/19/2023
                                                                 of 20



                                No. 23-50869


                            APPENDIX




                                     15
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   16 Date
                                               12/19/23   Filed:
                                                        Page  17 12/19/2023
                                                                 of 20



                                No. 23-50869




                                     16
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   17 Date
                                               12/19/23   Filed:
                                                        Page  18 12/19/2023
                                                                 of 20



                                No. 23-50869




                                     17
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   18 Date
                                               12/19/23   Filed:
                                                        Page  19 12/19/2023
                                                                 of 20



                                No. 23-50869




                                    18
Case:Case
     23-50869     Document: 00517007315
          2:23-cv-00055-AM                Page:
                             Document 69 Filed   19 Date
                                               12/19/23   Filed:
                                                        Page  20 12/19/2023
                                                                 of 20



                                No. 23-50869




                                     19
